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                                                                              Promotions, Inc. and Bernard Hopkins
                                                                         9
                                                                                                            UNITED STATES DISTRICT COURT
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GREENBERG GLUSKER FIELDS CLAMAN




                                                                                                           CENTRAL DISTRICT OF CALIFORNIA
                                                                         11
                                  Los Angeles, California 90067-4590
                                  1900 Avenue of the Stars, 21st Floor




                                                                         12   GOLDEN BOY PROMOTIONS, LLC,                 Case No. 2:15-cv-03378 JFW (MRWx)
       & MACHTINGER LLP




                                                                              GOLDEN BOY PROMOTIONS, INC.
                                                                         13   and BERNARD HOPKINS,                        Assigned to Hon. John F. Walter
                                                                         14                           Plaintiffs,         [REDACTED PUBLIC VERSION
                                                                                                                          PURSUANT TO OCTOBER 28, 2016
                                                                         15            v.                                 COURT ORDER (DOCKET NO.
                                                                                                                          141) AND PENDING COURT
                                                                         16   ALAN HAYMON, ALAN HAYMON                    ORDER]
                                                                              DEVELOPMENT, INC., HAYMON
                                                                         17   HOLDINGS, LLC, HAYMON                       DECLARATION OF GENE DEETZ
                                                                              SPORTS, LLC, HAYMON BOXING                  IN SUPPORT OF PLAINTIFFS’
                                                                         18   MANAGEMENT, HAYMON                          OPPOSITIONS TO DEFENDANTS’
                                                                              BOXING LLC, and RYAN                        MOTIONS FOR SUMMARY
                                                                         19   CALDWELL,                                   JUDGMENT
                                                                         20                           Defendants.
                                                                         21                                               Hearing Date:    November 28, 2016
                                                                                                                          Time:            1:30 p.m.
                                                                         22                                               Place:           Courtroom No. 16
                                                                         23
                                                                         24                                               Action Filing Date: May 5, 2015
                                                                                                                          Trial Date:       March 14, 2017
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                                                                              17896-00617/2709143.1                                   DECLARATION OF GENE DEETZ
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